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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             )
                                                     )
                       Plaintiff,                    )
                                                     )
       vs.                                           )       Case No. 1:21-cr-00201-DLF-2
                                                     )
MICHAEL AARON QUICK,                                 )
STEPHEN BRIAN QUICK,                                 )
ZACHARY HAYES MARTIN,                                )
                                                     )
                       Defendant.                    )


                                MOTION FOR CONTINUANCE

       COMES NOW defendant by and through Counsel Joseph S. Passanise and Taylon

Sumners of the WAMPLER AND PASSANISE LAW OFFICE and moves the Court for a

continuance of Plea Agreement Hearing scheduled for November 4, 2021 at 1:00 p.m. in

accordance with the Legal Suggestions attached hereto:

                                    LEGAL SUGGESTIONS

             1. This cause is currently set for Plea Hearing on November 4, 2021.

             2. Counsel spoke with co-defendant’s counsel Mr. Vanegas who does not object to a

                continuance of this hearing.

             3. Counsel is in the process of obtaining and reviewing the newly submitted

                discovery from the U.S. Attorney office in this matter.

             4. Counsel is dealing with the sudden death of law partner, Dee Wampler.

             5. Counsel received an e-mail from AUSA Brenda Johnson, and she does not object

                to this continuance. However, we have not discussed the length of time for the

                continuance.



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       WHEREFORE, counsel prays for an order herein that the Plea Hearing herein be

continued and for such other and further relief as the Court deems just and proper.



                                                      Respectfully Submitted

                                                      _______/s/Joseph Passanise__________
                                                      JOSEPH S. PASSANISE, MO Bar #46119
                                                      TAYLON SUMNERS, MO Bar #73114
                                                      Attorneys for Defendant
WAMPLER & PASSANISE
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                                      Certificate of Service

       I hereby certify that on October 29, 2021, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which sent notification of such filing to U.S. Attorney,
Springfield, Missouri.

                                                      _____/s/Joseph Passanise______________
                                                      Joseph S. Passanise
                                                      Taylon Sumners
                                                      Attorneys at Law




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